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_Proje_[l(Rev^lZ^ Complatni for Violation ofCivil Righls(Non-Prisoner)



                                      United States District Cour
                                                                       for the
                                                                                                            rTFRKUSUISlWOfCpURT
                                                       Eastern District of Virginia                                         VIRGINIA

                                                                 Alexandria Division


                        Kerry A. Farley
                       Matthew T. Farley                                         Case No.    I :2.0 C0|
                            MAR NJF                                                         (to befilled in by the Clerk's Office)

                            Plaintiff(s)
(Write thejuli name ofeach plaintiffwho isfiling this con^tainl.
Ifthe names ofalt the plaintiffs cannotfit in the space above,                   JuryTrial: (checkone) 0Yes I Ino
please write "see attached"in the space and attach an additional
page with thefull list ofnames.)
                               -V-




             The Fairfax County School Board


                          Defendant(s)
(Write thefull name ofeach defendant who is being sued- Ifthe
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames. Do not include addresses here.)



                               COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                      (Non-Prisoner Complaint)


                                                                     NOTICE

   Federal Rules ofCivil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
   electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
   security number or frill birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits ofa social security number; the year of an individual's
   birth; a minor's initials; and the last four digits ofa financial account number.

   Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
   other materials to the Clerk's Office with this complaint.

   In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
  forma pauperis.




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